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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________

                  United States of America                           )
                             v.                                      )
                  JACOB KYLE JORDAN                                  )      Case No.
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   February 25, 2020              in the county of             Washington        in the
                       District of            Columbia           , the defendant(s) violated:

            Code Section                                                       Offense Description
21 U.S.C. § 841 (a)(1)                           did unlawfully, knowingly and intentionally possess with intent to distribute a
and § 841(b)(1)(C);                              mixture and substance containing a detectable amount of
18 U.S.C. § 924(c)(1)                            methamphetamines, Schedule II controlled substance, and did unlawfully and
                                                 knowingly use, and carry during and in relation to, and possess a firearm,
                                                 that is, a Smith and Wesson .40 caliber semi-automatic handgun, in
                                                 furtherance of, a drug trafficking offense.




         This criminal complaint is based on these facts:
SEE ATTACHED STATEMENT OF FACTS




         ✔ Continued on the attached sheet.
         u



                                                                                                Complainant’s signature

                                                                                         VINCENT WITKOWSKI, Officer
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:             02/26/2020
                                                                                                   Judge’s signature

City and state:                           Washington, DC                         G. MICHAEL HARVEY, U.S. Magistrate Judge
                                                                                                 Printed name and title
